              Case 20-10343-LSS         Doc 11621        Filed 11/16/23   Page 1 of 10




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                 )   Chapter 11
    In re:                                       )   (Jointly Administered)
                                                 )
    BOY SCOUTS OF AMERICA AND                    )   Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC, 1                         )
                                                 )   Re: Dkt. 11575, 11578, 11586, 11591,
                          Debtors.               )   11602
                                                 )
                                                 )       Hearing Date: November 20, 2023 at
                                                 )       10:00 a.m. ET) Objection Deadline:
                                                                 November 16, 2023

      REPLY TO RESPONSE OF THE HONORABLE BARBARA J. HOUSER (RET.) IN
         HER CAPACITY AS TRUSTEE OF THE BSA SETTLEMENT TRUST, IN
              OPPOSITION TO MOTIONS TO CHANGE ELECTIONS OF
                         EXPEDITED DISTRIBUTION


      Babin Law, LLC (“Babin Law”), on behalf of two of its clients, SST-902574 and SST-907529

(collectively, the “Claimants”), by and through the undersigned counsel, hereby files this

Consolidated Reply to the Response of the Honorable Barbara J. Houser, (Ret.), in her Capacity

as Trustee of the BSA Settlement Trust, in Opposition to Motions to Change Elections of

Expedited Distribution (D.I. 11602). In opposition to the Trustee’s Response, and in support of

Claimant’s Motion, the Claimants respectfully state as follows:

      I.     INTRODUCTION

      Claimants K.S. 2 and J.H. 3 faced one of the world’s greatest injustices at the hands of the Boy

Scouts of America – child sex abuse. Although no amount of money can ever repair the damage



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  The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal
tax identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC
(4311). The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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  K.S. is referred to as “Claimant 1” in Babin Law’s previous motion. (D.I. 11567)
3
  J.H. is referred to as “Claimant 2” in Babin Law’s original motion. Id.
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              Case 20-10343-LSS        Doc 11621      Filed 11/16/23     Page 2 of 10




this abuse has had on Claimants’ lives, the justice system offers a way to hold wrongdoers

accountable.

      Seeking some recompense for the horrific abuse they suffered, Claimants filed Proof of Claim

forms in the Boy Scouts bankruptcy. Claimants were hopeful that BSA would finally pay for

turning a blind eye to sex abuse in its ranks. However, Claimants’ hopes of justice have been

compromised by an error they did not commit. As a result of this error, Claimants are being forced

to accept an expedited payout that they did not elect, rather than having the opportunity to go

through the standard recovery process that they did elect, as they were entitled to do under the

Bankruptcy Plan.

      Babin Law, therefore, is requesting narrow, targeted relief to correct this error and to allow

both Claimants to proceed through the Standard Trust Distribution Process. The Settlement Trustee

has opposed Babin’s request, but nothing prevents the Court from granting such relief.

Additionally, no parties will be prejudiced. This Court should allow Claimants K.S. and J.H. to

receive a full recovery.

      II.    FACTS

      Babin Law represents two Claimants who suffered child sex abuse while they participated in

the Boy Scouts of America. Each Claimant timely filed Proof of Claims forms in the BSA

Bankruptcy. 4 Over two years ago, K.S. and J.H. voted on the BSA Bankruptcy Plan, and, at first,

mistakenly selected the Expedited Distribution Option – K.S. first voted on November 10, 2023

(Ballot ID No. 227620) and J.H. first voted on December 7, 2021 (Ballot ID No. 215722).

      Both Claimants recognized well before any deadline that their elections had been mistaken,

and that they wished, instead, to proceed through the Standard Trust Distribution Process. Babin



4
    The claim numbers are SST-902574 for K.S. and SST-907529 for J.H.
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            Case 20-10343-LSS         Doc 11621       Filed 11/16/23      Page 3 of 10




Law reached out to the voting platform E-Ballot to cancel Claimants’ mistaken ballots, and E-

Ballot responded and acknowledged that these ballots were “canceled” and invalidated.

   On November 16, 2021, K.S. re-voted and did not elect the Expedited Distribution. OMNI

received this vote on December 10, 2021. (Ballot No. 227621). J.H. did not cast a new vote,

understanding that he would proceed with the standard review process by default by not voting.

   Shortly before the submission deadline, E-Ballot delivered to Babin Law a bulk upload file

containing nearly 1,000 ballots. This file, which was submitted to OMNI at the end of December

2021 to meet the impending deadline, included Claimants’ earlier ballots which E-Ballot had

confirmed had been cancelled. The Trustee believes that these cancelled ballots are the operative

ballots for Claimants and that she has no authority under the settlement procedures to remove

them.

   After communicating with the Trust and OMNI regarding this issue, Babin Law filed a Motion

To Change Election To Opt Into Expedited Payment/Convenience Class (the “Motion”) on

October 31, 2023 (D.I. 11567).       Several similar Motions regarding Expedited Distribution

Elections were filed before and after Babin Law’s Motion. This Court subsequently set an omnibus

hearing date on Babin Law’s and other motions for November 20, 2023. (D.I. 11585) The

Settlement Trustee filed a Motion in opposition to Babin Law’s Motion on November 10, 2023.

(D.I. 11602).

   III.    ARGUMENT

   Contrary to the Settlement Trustee’s arguments, Claimants are not seeking to circumvent the

requirements of the Third Amended Bankruptcy Plan (“Plan”), the Trust Distribution Procedures

(“TDP”), or the Solicitation Procedures (See D.I. 11565 and D.I. 11602). The Claimants are only

requesting very narrow relief from this Court to correct a clear error.



                                                 3
             Case 20-10343-LSS          Doc 11621          Filed 11/16/23   Page 4 of 10




    Put simply, the “operative” ballots received by OMNI were invalid because Claimants had

cancelled them. Claimants never intended to elect the Expediated option and took all necessary

steps to make this clear prior to any deadline so that they could, instead, proceed through the

Standard Trust Distribution Process. Now, Claimants are being forced to accept a $3,500 payment

for their claims that are worth significantly more, based on a ballot they cancelled. Babin Law is

simply asking this Court to prevent this unjust result and grant the Claimants the limited, equitable

relief of correcting their election.

    The Trustee’s argument relies on one rule in the Solicitation Procedures: “[i]f . . . the

Solicitation Agent receives more than one Ballot from or on behalf of the holder of a single Direct

Abuse Claim on or before the Voting Deadline, the effective vote shall be the last Ballot actually

received by the Solicitation Agent before the Voting Deadline”. (D.I. 11602 at 2, citing Solicitation

Procedures Order, § IV.F.1). However, the rules as written do not anticipate every circumstance,

and it is appropriate to seek relief from the Court when a strict and blind adherence to a rule leads

to an unjust or prejudicial result. Simply put, a Claimant’s cancelled ballot should never be his

controlling ballot.

    The Trustee, herself, has made several changes to the administration of the Plan in the interest

of fairness to the sex-abuse victims in this case, including extending deadlines for the Independent

Review Option and Expedited Questionnaire submission. These changes demonstrate that the

Trustee appreciates the need to adjust the terms of the Plan in select circumstances when justice

calls for it. Claimants face just such a situation here.

The Trustee’s Response to Claimant’s Motion cites several additional TDP provisions that are

irrelevant to Claimants’ request for relief. For instance, she notes that “[a] Direct Abuse Claimant

who does not make the Expedited Distribution Election . . . in accordance with the deadlines and



                                                   4
            Case 20-10343-LSS          Doc 11621      Filed 11/16/23      Page 5 of 10




procedures established by the Settlement Trust may not later elect to receive the Expedited

Distribution.” (D.I. 11565 at 3 citing Plan, Art. VI). But Claimants are not now attempting to elect

the Expedited Distribution after the fact; they never elected it at all, and simply want those

elections honored.

   Similarly, the Trustee argues the language of the TDP prohibits her from adding “an

opportunity to make an Expedited Distribution Election for a claim by a Chapter 11 POC after the

voting deadline.” (D.I. 11565 at 3 citing TDP, Art. XIV.B). But, again, this language does not

address the Claimants’ situation or the relief they are seeking. Rather, it is a narrow provision that

only prevents the Trustee from allowing a later selection of this option. (D.I. 11565 at 3). The Plan

and the TDP are both silent regarding the relief requested by these Claimants. And, even if the

Trustee does not have the authority to grant Claimants their requested relief, this Court does.

       When considering a request to correct a mistake, bankruptcy courts typically rely on the

Pioneer standard. Pioneer Inv. Services v. Brunswick Associates, 507 U.S. 380, 395 (1993). To

determine if actions constitute “excusable neglect” within the meaning of Fed. R. Bankr. P.

9006(b)(1), bankruptcy courts consider the following factors: “danger of prejudice to debtor, the

length of delay and its potential impact on judicial proceedings, the reason for delay, including

whether it was within the reasonable control of movant, and whether movant acted in good faith.”

Id. at 382. These factors weigh in favor of this Court allowing Claimants to proceed through the

Standard Trust Distribution Process, and the Trustee has not argued otherwise.

       First, the debtor in this bankruptcy, Boy Scouts of America – together with its sponsoring

organizations, local councils, and insurers – has not objected to Claimants’ Motion. Only the

Trustee has raised an objection. The Trustee would suffer no prejudice if the Court granted

Claimants’ requested relief. Claimants have not signed a release form or accepted any payments



                                                  5
              Case 20-10343-LSS        Doc 11621      Filed 11/16/23     Page 6 of 10




of the Expedited Distribution. 5 The Trustee, in general opposition to various similar motions that

have been filed, claims she will face several challenges should Claimants relief be granted,

including: re-opening the Expedited Distribution questionnaire, updating all claimants on the

changes, changing deadlines, and making drastic alternations to the claims processing portal. But

none of these “parade of horribles” outcomes would result from granting Claimants the narrowly

tailored relief they are seeking to correct the injustice of their specific circumstances. Claimants’

Motion only asks this Court to grant individualized relief to these particular Claimants, and doing

so will not affect any of the 7,300 Claimants who actually did elect the Expedited Distribution

option. The relief is simple and straightforward – the Trustee would only have to “click a button”

to change the Claimants’ Questionnaires to the Standard Trust Distribution on the claims

processing portal.

          Given the ease of correcting this error, any delay caused would be negligible. This is

especially true considering the Independent Review deadline is still months away, and no deadline

at all has been established to submit the Standard Trust Distribution Claim. As such, all factors of

the Pioneer standard weigh in favor of this Court granting Claimants’ requested relief.

    IV.      CONCLUSION

    Forcing Claimants to accept a smaller distribution based on mistaken elections made on

cancelled ballots is directly at odds with the Plan’s intended purpose to protect survivors. Such a

result would cause great prejudice to the Claimants, whereas the Trustee and Debtors would suffer

no prejudice at all if the Claimants’ ballot elections were corrected to reflect their intentions. No



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   Out of an abundance of caution, Babin Law has submitted the Expedited Distribution
Questionnaires for both Claimants. Babin Law felt it necessary to preserve the Claimants’ chance
to receive some compensation for their claims if this Motion is denied. If this Motion is granted,
however, Babin Law will promptly withdraw the Expedited Distribution Questionnaires.
Claimants have not executed a release for the Expedited Payment, nor received payment.
                                                 6
              Case 20-10343-LSS       Doc 11621       Filed 11/16/23     Page 7 of 10




distributions have yet been made and there will be no harm in allowing the Claimants to move

through the claim reconciliation process. Claimants are requesting very narrow relief from this

Court to correct a mistake and allow them to make a full and fair recovery on their claim as they

are entitled to under the Plan. Canceled ballots should not be controlling ballots.


          WHEREFORE, Babin Law respectfully requests that the Court instruct the Trustee to (1)

reset both Claimants’ Questionnaires to the Standard Trust Distribution Questionnaires; and

disregard the cancelled ballots (being Ballot ID No. 227620 and Ballot ID No. 215722), with the

results being (2) that Ballot ID No. 227621 be treated as K.S.’s operative ballot and (3) that J.H.

be permitted to proceed through the Standard Trust Distribution Procedures by default (having

submitted no valid ballot), and that the Court provide such other and further relief as is just and

proper.



Date: November 16, 2023                       BY: /s/ David Crumplar
                                              David Crumplar (#5876)
                                              Jacobs & Crumplar, P.A.
                                              750 Shipyard Dr., Suite 200
                                              Wilmington, DE 19801
                                              Phone: (302) 656-5445
                                              Email: Davy@jcdelaw.com

                                              Kristina Aiad-Toss (0101336)
                                              Babin Law, LLC
                                              65 E. State St. Suite 1300
                                              Columbus, OH 43215
                                              Ph: (614)-982-0067
                                              Kristina.aiad-toss@babinlaws.com




                                                 7
           Case 20-10343-LSS         Doc 11621      Filed 11/16/23      Page 8 of 10




                              CERTIFICATE OF SERVICE

       I, David T. Crumplar, hereby certify that, on this 16th day of November, 2023, and in

addition to the service provided under the Court’s CM/ECF system, I caused copies of the

foregoing Reply To Response Of The Honorable Barbara J. Houser (Ret.) In Her Capacity As

Trustee Of The Bsa Settlement Trust, In Opposition To Motions To Change Elections Of

Expedited Distribution to be served upon the parties listed on the attached service list by email.



                                             /s/ David Crumplar
                                             David Crumplar (#5876)
                                             Jacobs & Crumplar, P.A.
                                             750 Shipyard Dr., Suite 200
                                             Wilmington, DE 19801
                                             Phone: (302) 656-5445
                                             Email: Davy@jcdelaw.com




                                                8
                  Case 20-10343-LSS       Doc 11621       Filed 11/16/23    Page 9 of 10




                                            SERVICE LIST

Derek C. Abbott, Esquire Andrew R. Remming,              Office of The United States Trustee
Esquire Paige N. Topper, Esquire MORRIS,                 Attn: David Buchbinder, Esquire
NICHOLS, ARSHT & TUNNELL LLP                             J. Caleb Boggs Federal Building 844 King
1201 North Market Street, 16th Floor                     Street, Suite 2207
P.O. Box 1347                                            Lockbox 35
Wilmington, Delaware 19899-1347                          Wilmington, DE 19801
dabbott@morrisnichols.com                                David.L.Buchbinder@usdoj.gov
aremming@morrisnichols.com
ptopper@morrisnichols.com                                Michael C. Andolina, Esquire Matthew E.
                                                         Linder, Esquire Laura E. Baccash, Esquire
                                                         Blair M. Warner, Esquire WHITE & CASE
Glenn Kurtz, Esquire                                     LLP
Jessica C. Lauria, Esquire                               111 South Wacker Drive Chicago, Illinois
Andrew Hammond, Esquire                                  60606 mandolina@whitecase.com
Samuel P. Hershey, Esquire                               mlinder@whitecase.com
                                                         laura.baccash@whitecase.comblair.warner@w
WHITE & CASE LLP                                         hitecase.com
1221 Avenue of the Americas New
York, New York 10020
gkurtz@whitecase.com                                     Kurt F. Gwynne, Esquire Mark W.
jessica.lauria@whitecase.com                             Eckard, Esquire
ahammond@whitecase.com                                    REED SMITH LLP
sam.hershey@whitecase.com                                1201 Market Street, Suite 1500
                                                         Wilmington, DE 19801
Richard M. Pachulski, Esquire                            kgwynne@reedsmith.com
James E. O’Neill, Esquire                                meckard@reedsmith.com
PACHULSKI STANG STANG ZIEHL & JONES
LLP
919 North Market Street, 17th Floor Wilmington, DE       Thomas Moers Mayer, Esquire
19801                                                    Rachael Ringer, Esquire
rpachulski@pszjlaw.com                                   Jennifer R. Sharret, Esquire
joneill@pszjlaw.com                                      Megan M. Wasson, Esquire
                                                         KRAMER LEVIN NAFTALIS
Office of The United States Trustee Attn: David          & FRANKEL LLP
Buchbinder, Esquire                                      177 Avenue of the Americas
J. Caleb Boggs Federal Building 844 King Street,         New York, NY 10036
Suite 2207                                               tmayer@kramerlevin.com
Lockbox 35                                               rringer@kramerlevin.com
Wilmington, DE 19801                                     jsharret@kramerlevin.com
David.L.Buchbinder@usdoj.gov                             mwasson@kramerlevin.com




                                                     9
Case 20-10343-LSS   Doc 11621   Filed 11/16/23   Page 10 of 10




                           10
